Case 2:15-cvebibd s@ed DINK Od, oaunivetat of.

TRANSCRIPT ORDER

1.YOUR NAME 2. EMAIL 3. PHONE NUMBER 4. DATE

Daniel Gonzalez dgonzie@gmail.com 916-247-6886 5/13/2019

5. MAILING ADDRESS 6. CITY 7. STATE 8. ZIP CODE
7125 Calvin Drive Citrus Heights CA 95621

9, CASE NUMBER 0. JUDGE DATES OF PROCEEDINGS
2:15-cv-02448 TLN KJN Hon. Nunley 11. FROM: 12. TO

13. CASE NAME LOCATION OF PROCEEDINGS

Gonzalez v DRE, et al 14. CITY Sacramento 15. STATECA

16. ORDER FOR

[APPEAL No. (J CRIMINAL (J CRIMINAL JUSTICE ACT (J BANKRUPTCY

NON-APPEAL v| CIVIL v| IN FORMA PAUPERIS OTHER (Specify)

(Rev. 04/18)

17. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested) You must provide the name of the Reporter.

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ENTIRE TRIAL w | OTHER (Specify Below)
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19. SIGNATURE
Daniel Gonzalez

20. DATE
5/13/2019

 

 

 
